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                          UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS



THE CITY OF CHICAGO,

                               Plaintiff,

                    v.
                                                          Civil Action No. 1:17-cv-5720
JEFFERSON BEAUREGARD SESSIONS III,
Attorney General of the United States                     Hon. Harry D. Leinenweber

                               Defendant.



             CHICAGO’S MOTION FOR PARTIAL SUMMARY JUDGMENT

       Plaintiff City of Chicago, pursuant to Rule 56(a) of the Federal Rules of Civil Procedure and

Local Rule 56.1, hereby moves this Court for an Order granting partial summary judgment in favor

of Plaintiff on Counts I, II, and V of the Complaint for Injunctive and Declaratory Relief and

holding that: (a) the new conditions the Attorney General of the United States has imposed on the

Edward Byrne Memorial Justice Assistance Grant are ultra vires, violate the Separation of Powers,

and are therefore unlawful, and (b) Plaintiff complies with 8 U.S.C. § 1373.

       This Motion is based upon the accompanying Combined Opposition to Defendant’s Motion

to Dismiss and Memorandum of Law in Support of Plaintiff’s Cross-Motion for Partial Summary

Judgment; Plaintiff’s Statement of Undisputed Material Facts; the Declaration of Molly Jennings in

Support of Plaintiff’s Motion for Partial Summary Judgment; the pleadings and records on file in

this action; any matters of which the Court may take judicial notice, including those referenced in

Plaintiff’s accompanying Request for Judicial Notice; and any further argument as may be presented

on this Motion.




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        WHEREFORE, Plaintiff respectfully requests that this Court enter partial summary

judgment in its favor in the above-captioned proceeding.

January 31, 2018.                                          Respectfully Submitted,

                                                           By /s/ Edward N. Siskel
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                                    CERTIFICATE OF SERVICE

          On the 31st day of January, 2018, I electronically filed the foregoing brief using the Court’s

CM/ECF system. Counsel for all parties are registered CM/ECF users and will be served by that

system.


                                                            /s/ Edward N. Siskel
                                                            EDWARD N. SISKEL




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